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               IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                     CENTRAL DIVISION




 UNITED STATES OF AMERICA,
            Plaintiff,                               MEMORANDUM DECISION AND
                                                     ORDER DENYING DEFENDANT’S
                                                     MOTION FOR EARLY
                                                     TERMINATION OF SUPERVISED
                                                     RELEASE


                    vs.


 JOSE VERGARA,                                       Case No. 2:02-CR-420 TS
            Defendant.




        This matter is before the Court on Defendant’s Motion for Early Termination of

Supervised Release. Because Defendant is proceeding pro se, the Court reviews his filing

liberally.1

                                      I. BACKGROUND

        On February 12, 2003, Defendant pleaded guilty to Conspiracy to Defraud the

United States. On December 9, 2003, Defendant was sentenced to 41 months custody

followed by 36 months supervised release. Amended Judgment was entered on June 2,



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            Haines v. Kerner, 404 U.S. 519, 520-21 (1972).

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2004. Defendant was released from the custody of the Bureau of Prisons on March 28,

2006, and began his 36-month term of supervised release.

                                     II. DISCUSSION

       If a defendant has completed at least one year of supervised release, 18 U.S.C.

§ 3583(e) permits the Court to terminate the term of supervised release prior to completion

of the entire term if the Court is satisfied that such action is 1) warranted by the conduct

of an offender and 2) is in the interest of justice.2 In making this determination the Court

must consider many of the factors set forth in 18 U.S.C. § 3553(a), to the extent they are

applicable.3

       The government was notified of the Motion, has had a reasonable opportunity to

object, and has not filed an objection. Accordingly, no hearing is required.4

       The Court has reviewed the docket and case file, has consulted with Defendant’s

supervising probation officer, and reviewed Defendant’s supervision history. The Court

finds as follows: Defendant has failed to comply with the terms of his supervised release

and the directives of the probation office. As a result, there was a recent modification of

the conditions of supervision.5

       2
           18 U.S.C. § 3583(e)(i).
       3
       Id. at § 3583(e) (directing that the court consider factors set forth in §
3553(a)(1), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5), (a)(6), and (a)(7)).
       4
         Fed. R. Crim. P. 32.1(c) (hearing required to modify conditions of supervised
release unless the relief sought is favorable to defendant, does not extend the term of
his supervised release, and “an attorney for the government has received notice of the
relief sought, has had reasonable opportunity to object, and has not done so”).
       5
           Docket No. 645.

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       Based on these findings and on consideration of the applicable § 3553(a) factors,

the Court finds that early termination of Defendant’s term of supervised release is neither

warranted by the conduct of the offender nor in the interest of justice at this time.

                            III. CONCLUSION AND ORDER

       Based upon the above, it is hereby

       ORDERED that Defendant’s Motion for Early Termination of Supervised Release

(Docket No. 651) is DENIED.

       DATED this 20th day of January 2009.

                                          BY THE COURT:


                                          ___________________________________
                                          TED STEWART
                                          United States District Judge




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